     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     Northern              District of _________________
              District of Alabama      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Zuaiter  Company, Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           Huntsville  International Market
                                            ______________________________________________________________________________________________________
      in the last 8 years                   Huntsville  Global Market
                                            ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               4925 University Drive                                    199  Evelyn Street
                                                                                                        _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number      Street

                                               Suite 140
                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Huntsville                    AL    35816
                                            ______________________________________________
                                                                                                        Madison                    AL      35758
                                                                                                        _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Madison County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
          Case 20-82554-CRJ11                     Doc 1      Filed 12/10/20 Entered 12/10/20 13:32:54                              Desc Main
                                                            Document     Page 1 of 43
                Zuaiter Company, Inc.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            722511
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                      income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                          statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
           Case 20-82554-CRJ11               Doc 1        Filed 12/10/20 Entered 12/10/20 13:32:54                                 Desc Main
                                                         Document     Page 2 of 43
              Zuaiter Company, Inc.
Debtor        _______________________________________________________                              Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have            No
      possession of any real                
                                            ✔ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                           What is the hazard? _____________________________________________________________________

                                                          It needs to be physically secured or protected from the weather.

                                                      ✔
                                                           It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                          Other _______________________________________________________________________________



                                                                             4925 University Drive
                                                      Where is the property?_____________________________________________________________________
                                                                                 Number          Street
                                                                                 Suite 140
                                                                                 ____________________________________________________________________
                                                                                 Huntsville
                                                                                 _______________________________________    AL
                                                                                                                           _______    35816
                                                                                                                                     ________________
                                                                                 City                                             State      ZIP Code


                                                      Is the property insured?
                                                          No
                                                          Yes. Insurance agency ____________________________________________________________________
                                                                                 Four Seasons Insurance
                                                                Contact name     Narwan Alsanabani
                                                                                 ____________________________________________________________________

                                                                Phone            256-489-0809
                                                                                 ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                             ✔




                                             1-49
                                             ✔
                                                                                1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                             5,001-10,000                             50,001-100,000
      creditors
                                             100-199                           10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                        $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                  $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000
                                             ✔
                                                                                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million               $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
         Case 20-82554-CRJ11                      Doc 1      Filed 12/10/20 Entered 12/10/20 13:32:54                                     Desc Main
                                                            Document     Page 3 of 43
               Zuaiter Company, Inc.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000
                                            ✔
                                                                                 $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              12/10/2020
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Osama Zuaiter
                                                _____________________________________________               Osama Zuaiter
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       President
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Mitch Howie
                                                _____________________________________________              Date         12/10/2020
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Mitch Howie
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Mitch Howie
                                                _________________________________________________________________________________________________
                                                Firm name
                                                100 South Jefferson St. Suite 200
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Huntsville
                                                ____________________________________________________            AL             35801
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                2565332400
                                                ____________________________________                              mitchhowielaw@gmail.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                ASB7869E59S                                                     AL
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
         Case 20-82554-CRJ11                     Doc 1       Filed 12/10/20 Entered 12/10/20 13:32:54                                  Desc Main
                                                            Document     Page 4 of 43
 Fill in this information to identify the case:

                Zuaiter Company, Inc.
  Debtor name _________________________________________________________________

                                          Northern District of Alabama
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                          100,000.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          32,867.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           132,867.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                           19,540.34
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                           19,540.34



4. Total liabilities ...........................................................................................................................................................................            39,080.68
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  OfficialCase  20-82554-CRJ11
          Form 206Sum            Docof1Assets
                             Summary       Filed   12/10/20
                                              and Liabilities       Entered 12/10/20
                                                              for Non-Individuals                                                                                            13:32:54               Descpage
                                                                                                                                                                                                         Main1
                                                                                      Document                         Page 5 of 43
      Fill in this information to identify the case:

                    Zuaiter Company, Inc.
      Debtor name __________________________________________________________________

                                              Northern District of Alabama
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Gallery Shopping Center, LLC           Lauren Smith , Esq.         Unpaid Rent             Contingent
1    c/o Lauren Smith, Esq.                 (256) 535-1100
     2102 West Clinton Ave, Suite 102       LAS@LanierFord.com                                                                                       19,540.34
     Huntsville, AL, 35805



2




3




4




5




6




7




8




    Official Form 204  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
            Case 20-82554-CRJ11         Doc 1 Filed 12/10/20 Entered 12/10/20 13:32:54 Desc Main page 1
                                                 Document             Page 6 of 43
                  Zuaiter Company, Inc.
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        page 2
             Case 20-82554-CRJ11        Doc 1 Filed 12/10/20 Entered 12/10/20 13:32:54 Desc Main
                                                 Document             Page 7 of 43
  Fill in this information to identify the case:

               Zuaiter Company, Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Northern District of Alabama
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
          Progress Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              1
                                                                                               ____    9
                                                                                                      ____    4
                                                                                                             ____   4
                                                                                                                    ____         $______________________
                                                                                                                                   1,567.00
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 1,567.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   OfficialCase
            Form 206A/B
                  20-82554-CRJ11                       Doc 1   Schedule A/B: Assets  Real
                                                                Filed 12/10/20             and Personal
                                                                                      Entered           Property
                                                                                                 12/10/20     13:32:54                   page 1
                                                                                                                                  Desc Main
                                                               Document         Page 8 of 43
Debtor           Zuaiter Company, Inc.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form
         Case 206A/B
                 20-82554-CRJ11                     Doc 1   Schedule A/B: Assets  Real
                                                             Filed 12/10/20             and Personal
                                                                                   Entered           Property
                                                                                              12/10/20     13:32:54                        page 2
                                                                                                                                    Desc Main
                                                            Document         Page 9 of 43
                   Zuaiter Company, Inc.
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
                                                                                   30,000.00                                            30,000.00
  Food Supplies
   ________________________________________                   ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                     30,000.00
                                                                                                                                      $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
     
     ✔      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
                                                                                                       10,000.00
     ✔                      10,000.00
            Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________


Official Form
         Case 206A/B
                 20-82554-CRJ11                    Doc 1 Schedule A/B: Assets  Real
                                                          Filed 12/10/20             and Personal
                                                                                Entered           Property
                                                                                           12/10/20     13:32:54                              page 3
                                                                                                                                       Desc Main
                                                        Document         Page 10 of 43
                Zuaiter Company, Inc.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
Desk, chair, filing cabinet
                                                                                    500.00
                                                                                  $________________     ____________________        300.00
                                                                                                                                  $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Computers                                                                           1,500.00                                        1,000.00
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     1,300.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form
         Case 206A/B
                 20-82554-CRJ11                   Doc 1 Schedule A/B: Assets  Real
                                                         Filed 12/10/20             and Personal
                                                                               Entered           Property
                                                                                          12/10/20     13:32:54                            page 4
                                                                                                                                    Desc Main
                                                       Document         Page 11 of 43
                 Zuaiter Company, Inc.
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    See continuation sheet
                                                                             141,800.00                                         0.00
    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                            0.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
     
     ✔    Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔    No
         Yes




 Official Form
          Case 206A/B
                  20-82554-CRJ11                 Doc 1 Schedule A/B: Assets  Real
                                                        Filed 12/10/20             and Personal
                                                                              Entered           Property
                                                                                         12/10/20     13:32:54                       page 5
                                                                                                                              Desc Main
                                                      Document         Page 12 of 43
                   Zuaiter Company, Inc.
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       4925 University Drive, Suite 140, Grocery Store
55.1
       & Business within
                                                                                      100,000.00           Market                        100,000.00
                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     100,000.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
           No
       
       ✔    Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill                                                                           25,000.00                                          0.00
    Goodwill
    ______________________________________________________________                    $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                     0.00
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form
          Case 206A/B
                  20-82554-CRJ11                      Doc 1 Schedule A/B: Assets  Real
                                                             Filed 12/10/20             and Personal
                                                                                   Entered           Property
                                                                                              12/10/20     13:32:54                           page 6
                                                                                                                                       Desc Main
                                                           Document         Page 13 of 43
Debtor            Zuaiter Company, Inc.
                 _______________________________________________________                              Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                           Current value of
                                                                                                                                           debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                          _______________     –   __________________________         =   $_____________________
                                                                          Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                                Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                                Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                                Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                        $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Claim against Gallery Shopping Center
    ______________________________________________________________                                                                          0.00
                                                                                                                                          $_______________________
    Nature of claim                     Failure to abide by lease novation/No suit at this time
                                       ___________________________________

    Amount requested                     92,000.00
                                       $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                        $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                         $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                           $_____________________
   ____________________________________________________________                                                                           $_____________________
78. Total of Part 11.
                                                                                                                                            0.00
                                                                                                                                          $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Official Form
         Case 206A/B
                 20-82554-CRJ11                         Doc 1 Schedule A/B: Assets  Real
                                                               Filed 12/10/20             and Personal
                                                                                     Entered           Property
                                                                                                12/10/20     13:32:54                            page 7
                                                                                                                                          Desc Main
                                                             Document         Page 14 of 43
                   Zuaiter Company, Inc.
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         1,567.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         30,000.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         1,300.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               100,000.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         32,867.00                             100,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  132,867.00                                                                                        132,867.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................      $__________________




Official Form
         Case 206A/B
                 20-82554-CRJ11                             Doc 1 Schedule A/B: Assets  Real
                                                                   Filed 12/10/20             and Personal
                                                                                         Entered           Property
                                                                                                    12/10/20     13:32:54                                              page 8
                                                                                                                                                                Desc Main
                                                                 Document         Page 15 of 43
             Zuaiter Company, Inc.
 Debtor 1                                                     _            Case number (if known)
            First Name     Middle Name    Last Name



                                              Continuation Sheet for Official Form 206 A/B
50) Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

Walk-in Freezer,                  81,100.00                                              0.00
Walk-in Meat
Cooler, Kitchen
Equipment and tools

Improvements to                   60,700.00                                              0.00
Lease held
property at 4925
University Drive -
see attached




Official Form 206 A/B
           Case    20-82554-CRJ11                     Schedule A/B:Entered
                                         Doc 1 Filed 12/10/20      Property 12/10/20 13:32:54       Desc Main
                                              Document     Page 16 of 43
  Fill in this information to identify the case:
              Zuaiter Company, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Northern District of Alabama

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Gallery Shopping Center, LLC                                Equipment & Improvements Landlord's Lien
      __________________________________________                                                                                   Unknown
                                                                                                                                 $__________________          81,100.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      c/o Lauren Smith, Esq.
      ________________________________________________________
      2102 West Clinton Ave, Suite 102, Huntsville, AL 35805
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                                 $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   No
    same property?                                                  Yes
     No                                                         Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    0.00
                                                                                                                                  $________________
    Page, if any.
   OfficialCase  20-82554-CRJ11
           Form 206D              DocD:1Creditors
                              Schedule      Filed   12/10/20
                                                  Who             Entered
                                                      Have Claims Secured    12/10/20
                                                                          by Property                                             13:32:54           Descpage
                                                                                                                                                          Main     2
                                                                                                                                                              1 of ___
                                                                    Document               Page 17 of 43
Debtor
               Zuaiter Company, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1       Last 4 digits of
         Name and address
                                                                                                                did you enter the             account number
                                                                                                                related creditor?             for this entity


                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




                                                                                                               Line 2. __                     _________________




Form 206D
       Case       20-82554-CRJ11           of Schedule
                           Official Part 2 Doc         D: Creditors
                                                 1 Filed            Who HaveEntered
                                                             12/10/20       Claims Secured by Property
                                                                                      12/10/20     13:32:54                               Descpage
                                                                                                                                               Main___
                                                                                                                                                    2 of ___
                                                                                                                                                         2
                                                  Document           Page 18 of 43
      Fill in this information to identify the case:

      Debtor
                      Zuaiter Company, Inc.
                      __________________________________________________________________

                                              Northern District of Alabama
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                         Check if this is an
                                                                                                                                            amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                        12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
      
      ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________
                                                                                                              19,540.34
    Gallery Shopping Center, LLC                                                                                                        $_________________
                                                               Check all that apply.
    c/o Lauren Smith, Esq.                                     
                                                               ✔   Contingent
    2102 West Clinton Ave, Suite 102                              Unliquidated
    Huntsville, AL, 35805                                         Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                      ✔ No

                                                                Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)



           Case
  Official Form    20-82554-CRJ11
                206E/F                               Doc  1 E/F:
                                                      Schedule Filed  12/10/20
                                                                   Creditors Who HaveEntered
                                                                                      Unsecured12/10/20
                                                                                                Claims  13:32:54                       Descpage
                                                                                                                                            Main      3
                                                                                                                                                1 of ___
                                                           Document           Page 19 of 43
               Zuaiter Company, Inc.
  Debtor       _______________________________________________________                              Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                              Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Gallery Shopping Center, LLC                                                                                              19,540.34
                                                                                                                            $________________________________
                                                                           
                                                                           ✔
                                                                               Contingent
    c/o Lauren Smith, Esq.                                                    Unliquidated
    2102 West Clinton Ave, Suite 102                                          Disputed
    Huntsville, AL, 35805                                                                          Unpaid Rent
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
                                                                                                                            $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________             No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________             No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________             No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________            No
                                                                              Yes


    OfficialCase   20-82554-CRJ11
             Form 206E/F                         Doc  1 E/F:
                                                  Schedule Filed  12/10/20
                                                               Creditors Who HaveEntered
                                                                                  Unsecured12/10/20
                                                                                            Claims  13:32:54                           Desc Main
                                                                                                                                               page __    3
                                                                                                                                                    2 of ___
                                                       Document           Page 20 of 43
               Zuaiter Company, Inc.
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    19,540.34
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       19,540.34
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          39,080.68
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




   OfficialCase   20-82554-CRJ11
            Form 206E/F                      Doc  1 E/F:
                                              Schedule Filed  12/10/20
                                                           Creditors Who HaveEntered
                                                                              Unsecured12/10/20
                                                                                        Claims  13:32:54                     Desc Main
                                                                                                                                     page __    3
                                                                                                                                          3 of ___
                                                   Document           Page 21 of 43
 Fill in this information to identify the case:

             Zuaiter Company, Inc.
 Debtor name __________________________________________________________________

                                         Northern District of Alabama
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Lease store & building. Debtor                    Gallery Shopping Center, LLC
         State what the contract or    installed equipment & fixtures,                   c/o Lauren Smith, Esq.
 2.1     lease is for and the nature
                                       electrical, plumbing, and lighting
         of the debtor’s interest
                                                                                         2102 West Clinton Ave, Suite 102
                                       were upgraded                                     Huntsville, AL, 35805
         State the term remaining
                                       24 months
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




         Case
Official Form    20-82554-CRJ11Schedule
              206G                DocG:1 Executory
                                            Filed Contracts
                                                   12/10/20      EnteredLeases
                                                            and Unexpired 12/10/20                                   13:32:54         Descpage
                                                                                                                                           Main      1
                                                                                                                                               1 of ___
                                                          Document              Page 22 of 43
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Zuaiter Company, Inc.

                                         Northern District of Alabama
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):   _________________________




                                                                                                                                         Check if this is an
                                                                                                                                            amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                              12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
      
      ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

       Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                            Check all schedules
           Name                      Mailing address                                                     Name
                                                                                                                                            that apply:


2.1                                                                                                       _____________________              D
                                                                                                                                             E/F
                                                                                                                                             G




2.2
                                                                                                          _____________________              D
                                                                                                                                             E/F
                                                                                                                                             G




2.3
                                                                                                          _____________________              D
                                                                                                                                             E/F
                                                                                                                                             G



2.4
                                                                                                          _____________________              D
                                                                                                                                             E/F
                                                                                                                                             G



2.5
                                                                                                          _____________________              D
                                                                                                                                             E/F
                                                                                                                                             G




2.6
                                                                                                          _____________________              D
                                                                                                                                             E/F
                                                                                                                                             G




         Case
Official Form    20-82554-CRJ11
              206H                               Doc 1 Filed  12/10/20
                                                         Schedule            Entered 12/10/20 13:32:54
                                                                  H: Codebtors                                                        Descpage
                                                                                                                                           Main      1
                                                                                                                                               1 of ___
                                                      Document        Page 23 of 43
Fill in this information to identify the case:
             Zuaiter Company, Inc.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Northern District of AlabamaDistrict of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                                1,567.00
           fiscal year to filing date:           08/31/2020
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2020
                                           From ___________         to     09/30/2020
                                                                           ___________         
                                                                                               ✔ Operating a business                          44,250.27
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/11/2019
                                           From ___________         to     12/31/2019
                                                                           ___________          Operating a business                          11,280.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                                                                             0.00
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From 08/31/2020
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2020
                                                ___________         to      09/30/2020
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________



           For the year before that:       From 01/11/2019
                                                ___________         to      12/31/2019
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1

         Case 20-82554-CRJ11                     Doc 1 Filed 12/10/20 Entered 12/10/20 13:32:54                                   Desc Main
                                                      Document    Page 24 of 43
                 Zuaiter Company, Inc.
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________       ________        $_________________                 Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


     3.2.

                                                              ________        $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2

            Case 20-82554-CRJ11                Doc 1 Filed 12/10/20 Entered 12/10/20 13:32:54                                        Desc Main
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                 Zuaiter Company, Inc.
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                         Description of the property                               Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                            Court or agency’s name and address              Status of case
            Gallery Shopping Center. LLC VS.                                                  Circuit Court of Madison County, Alabama
     7.1.   Zuaiter Company, INC., et al             Eviction                                                                                  
                                                                                                                                               ✔   Pending

                                                                                                                                                  On appeal

             Case number                                                                      100 North Side Square                               Concluded
                                                                                              Huntsville, AL 35801
      47-CV-2020-901429.00
             _________________________________

             Case title                                                                        Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3

            Case 20-82554-CRJ11                 Doc 1 Filed 12/10/20 Entered 12/10/20 13:32:54                                         Desc Main
                                                     Document    Page 26 of 43
                 Zuaiter Company, Inc.
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4

            Case 20-82554-CRJ11                    Doc 1 Filed 12/10/20 Entered 12/10/20 13:32:54                                           Desc Main
                                                        Document    Page 27 of 43
                Zuaiter Company, Inc.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                             value

            S. Mitchell Howie
            __________________________________________         Cash
   11.1.
                                                                                                                          ______________      $_________
                                                                                                                                                10,000.00
            Address

            100 Jefferson Street, Suite 200
            Huntsville, AL 35801




            Email or website address
            MitchHowieLaw@gmail.com
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                             value


   11.2.    __________________________________________
                                                                                                                          ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                           were made          value


            __________________________________________                                                                     ______________      $_________

            Trustee

            __________________________________________




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 5

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                Zuaiter Company, Inc.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6

           Case 20-82554-CRJ11                  Doc 1 Filed 12/10/20 Entered 12/10/20 13:32:54                                        Desc Main
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                 Zuaiter Company, Inc.
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.    ________________________________________                                                                                     ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7

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                                                      Document    Page 30 of 43
Debtor            Zuaiter Company, Inc.
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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              Zuaiter Company, Inc.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

          None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

           Vintage Fairy Tales                      Vintage Goods                                          EIN: ________________________
   25.1.     __________________________________
            Name                                                                                           Dates business existed
             4925 University Drive
             Huntsville, AL 35816
                                                                                                                01/01/2015
                                                                                                           From ___________              To 01/01/2017
                                                                                                                                            ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Farzaneh Torabian EA                                                                            From 01/01/2015
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               12/08/2020
              3314 Bob Wallace Avenue, Huntsville, AL 35805                                                   To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                    Name and address                                                                          Dates of service


                    Farzaneh Torabian EA                                                                      From _______
         26b.1.     ______________________________________________________________________________
                    Name
                    3314 Bob Wallace Avenue, Huntsville, AL 35805                                             To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Farzaneh Torabian EA
                    ______________________________________________________________________________
                    Name
                     3314 Bob Wallace Avenue, Huntsville, AL 35805




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                    Zuaiter Company, Inc.
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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                Zuaiter Company, Inc.
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    ______________________________________________________________            _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
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Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       12/10/2020
                               _________________
                                MM / DD / YYYY



              /s/ Osama Zuaiter
              ___________________________________________________________                              Osama Zuaiter
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 President
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         
         ✔    No
             Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14

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 Fill in this information to identify the case and this filing:

              Zuaiter Company, Inc.
 Debtor Name __________________________________________________________________

                                         Northern District of Alabama
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    12/10/2020
        Executed on ______________                          /s/ Osama Zuaiter
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Osama Zuaiter
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                               United States Bankruptcy Court
                                  Northern District of Alabama




          Zuaiter Company, Inc.
 In re:                                                           Case No.

                                                                  Chapter    11
                      Debtor(s)




                               Verification of Creditor Matrix



        The above-named Debtor(s) hereby verify that the attached list of creditors is
 true and correct to the best of their knowledge.




               12/10/2020                           /s/ Osama Zuaiter
 Date:
                                                    Signature of Individual signing on behalf of debtor

                                                    President
                                                    Position or relationship to debtor




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 Gallery Shopping Center, LLC
 c/o Lauren Smith, Esq.
 2102 West Clinton Ave, Suite 102
 Huntsville, AL 35805




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                                      United States Bankruptcy Court
                                                             Northern District of Alabama
                                               __________________________________
     In re   Zuaiter Company, Inc.

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         10,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         300.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for
            payment to me for representation of the debtor(s) in this bankruptcy proceeding.

        12/10/2020                        /s/ Mitch Howie, ASB7869E59S
      _____________________              _________________________________________
      Date                                     Signature of Attorney
                                          Mitch Howie
                                         _________________________________________
                                              ​Name of law firm
                                          100 South Jefferson St.
                                          Suite 200
                                          Huntsville, AL 35801
                                          2565332400
                                          mitchhowielaw@gmail.com




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